USDC IN/ND case 1:06-cr-00060-TLS-SLC               document 77       filed 01/12/07     page 1 of 2


                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 FORT WAYNE DIVISION


 UNITED STATES OF AMERICA                              )
                                                       )
                v.                                     )      CAUSE NO. 1:06-CR-60TS
                                                       )
 JOSE RAMIREZ                                          )


                                     OPINION AND ORDER

        Defendant Jose Ramirez moved to suppress evidence recovered by the police during the

 search of property located at 1702 Gable Road, Fort Wayne, Indiana. The Defendant alleges that

 the police searched the property pursuant to a deficient warrant but also states that the property

 was searched without a warrant at all. The Defendant request an evidentiary hearing on his

 motion.

        Whichever of the two scenarios presented by the Defendant may be the case, he has not

 identified any disputed facts that would require an evidentiary hearing. Furthermore, he has not

 submitted the search warrant or the search warrant affidavit from which the Court could

 determine the validity of the warrant. Finally, the Defendant gave the Court no indication why he

 believes the search of property in question was unlawful. As such, the Court finds no basis to

 hold an evidentiary hearing or to grant the Defendant’s motion. See United States v. Juarez, 454

 F.3d 717, 719–20 (7th Cir. 2006) (a defendant must provide the court with information sufficient

 to “enable the court to conclude that a substantial claim is presented and that there are disputed

 issues of material fact which will affect the outcome of the motion”).
USDC IN/ND case 1:06-cr-00060-TLS-SLC                 document 77   filed 01/12/07   page 2 of 2


        Therefore, the Court denies Defendant Jose Ramirez’s Motion to Suppress Evidence [DE

 75] without prejudice. The Defendant may renew the motion by January 19, 2007, if he can

 identify any issues for the Court to review.

        SO ORDERED on January 12, 2007.

                                                  S/ Theresa L. Springmann
                                                THERESA L. SPRINGMANN
                                                UNITED STATES DISTRICT COURT




                                                  2
